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             l     AACIIEL C. HERNANDEZ
                   Actin§ United States Attorney
             2     District of Arizona
                   NATHA IEL J. WALTERS
             3     Assistant U.S. Attorney                                        FILED            LODGED
                   United States Courthouse
             4     405 W. Congress Street, Suite 4800                           Apr 02 2025
                   Tucson, Arizona 8570 l
                                                                                  CLERK U.S. DISTRICT COURT
             5     Telephone: 520 -620- 7300                                         DISTRICT OF ARIZONA
                   Email: nathaniel.walters@ usdoj.gov
             6     Attorneys for Plaintiff

             7                              IN THE UNITED STATES DISTRICT COURT

             8                                   FOR THE DISTRICT OF ARIZONA

             9
                    United States America,
            10
                                              Plaintiff,                       CR-23-02118-RM (EJM)a
            11                vs .

            12                                                                    PLEA AGREEMENT
                    Hugo Acosta- Osorio ,
            13
                                              Defendant.
            14

            15            The United States of America and the defendant agree to the following disposition

            16     of this matter:

            17                                                   PLEA
                                                                 - -
            18            1.         The defendant agrees to plead guilty to a fe lony Information , chargin g the

            19     defendant with a vio lation of Title 18, United States Code, Section 4, Misprision of a

            20     Fe lony.

            21            The elements of the crime of misprision of felony are:

            22            (a)        the defendant had full knowledge of the commission of the felony ;

            23            (b)        the defendant failed to notify th e relevant authorities about the commiss ion

            24     of the offense; and

            25            (c)        the defendant deliberately took an affirmative step to conceal the crime.
            26            2.         The defendant understand s that the maximum penalty for the offense to
            27     which she is pleading is a fine of not to exceed $250 ,000.00, a term of imprisonment not
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           to exceed three (3) yea rs , or both , and a period of not more than one ( 1) year supervised

     2     re lease.
     3             3.    The defendant agrees to pay a fine un less the defendant establis hes the

     4     app lic ab ility of the exceptions contained in § 5El .2(f) of the Sentencing Guideli nes .
     5             4.    Pursuant to Title 18 , United States Code , Section 3013 (a), the defendant shall

     6     pay a special assessment of $ 100 .00. The specia l assessment is du e and payable at the time

     7     the defendant enters the plea of guilty, but in no event sha ll be paid later than the time of
     8     sentencing unless the defendant is indigent.       If the defendant is indigent, the special

     9     assessment wi ll be collected accord in g to the provisions of Chapters 227 and 229 of Title

    lO     18 , United States Code.
    11             5.    The defendant recogn izes that pleading guilty may have consequences with

    12     respect to his immigration statu s if defendant is not a citizen of the United States. Under

    13     federal law, a broad range of crimes are removable offe nses, including the offense(s) to
    14     wh ich defendant is pleading guilty . Removal and other immigration consequences are the

    15     subject of a separate proceeding, however, and defendant understands that no one,

    16     including defendant ' s attorney or the district court, can predict to a certainty the effect of
    l7     defendant's conviction on defendant's immigration status. Defendant nevertheless affinns

    18     that he wants to plead guilty regardless of any immi gration consequences that this plea may

    19     entai l, even if the consequence is defendant's automatic removal from the United States.
    20             7.    Sentencing Range:     If the Court, after reviewing this plea agreement,
    21     conc lu des any provisions are inappropriate, it may reject the plea agreement, givi ng the
    22     defendant, in accordance with Rule l l(e)(4) , Fed. R. Cr im. P., an opportunity to withdraw
    23     defendant's gui lty plea.
    24             9.    Pursuant to this plea agreement and Fed. R. Crim. P.ll(c)(l)(C) , the
    25     government and the defendant stip ulate and agree to a sentence of time served. Defendant
    26     is to receive credit for a ll time he /she has served to date and shall be deducted from the
    27
    28                                                  -2-
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 1     stipulated sentence. Th e government and the defendant reserve the right to withdraw from

 2     this agreement if th e senten ce is less or more than time served.

 3             10.     If the defe ndant mo ves for any adjustments in Chapters Two , Three , or Fo ur

 4     bf the Se ntencing Guidelines or any " departures" from th e Sentencing Guidelines , the

 5     government may withdraw fr om this agreement.

 6             1 1.    The defe ndan t and the government agree that thi s agreement does not in any

 7     manner restrict the action s of the government in any other di stri ct or bind any other United

 8     States Attorn ey's Office.
 9             12.     The defendant waives any and all motion s, defe nses, prob able cause

10     determinations, and objections which the defe ndant could assert to th e information or
11     indictment, or to th e petitio n to revoke , or to the Court's entry of judgment aga in st the

12     defendant and impo sition of sente nc e upon the defendant providing the sen tenc e is

13     cons istent with thi s agre ement. The defe ndant further waives: ( 1) any right to ap peal the
14     Court's ·entry of judgment aga in st d efendant; (2) any right to appea l the imp os iti on of
15     sentence upon defendant und er Title 18, United States Code, Section 3 742 (sentence
16     ap peals); and (3) any right to collaterally attack defe ndant' s co nvi ctio n and sentence unper
                                                                                          -C(Ct..pt- 4.1W'IC+l0'4
17     Title 28, United States Code, Section 2255, or any other collateral attack. The. defendant
                                                                                        CO"'f"~.._,,Ol\4tt rtlt
18     ackno wle dges that this wai ve r shall re s ult in th e dismi ssal of any appeal or co ll atera l attack f.
19     the defe ndant might fil e c hall engin g her conviction or se ntenc e in this case . If the
20     defendant files a notice of appeal or a habeas petition, notwith standin g this agreeme nt,
21     defendant agrees that this case shall , upon motion of th e government, be remanded to the
22     district court to determin e whether de fen dant is in breach of this agreement and, if so, to
23     permit the governme nt to withdraw from the plea agreement. This waiver sha ll not be
24     construed to bar a claim by the defend ant 'lim_ef~             e assistance of cou nselor a.
        CltA.\M fel') pro«.cw+ott o.l M('aeond1,tCf. Cf!:::.)
25             13 .    If th e defendant 's gu ilty pl ea 1s rejec e , withdrawn , vacated, or reversed by
26     any court in a later proceeding, th e gov ernment will b e fre e to pro secute the defendant for
27

28                                                       -3-
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 1     all charges as to which it ha s knowledge , and any charges that have been dismi ssed because

 2     of thi s plea agreement will be automatically reinstated . In such event, the defendant waives

 3     any obj ections, motions , or defe nses based upon th e Speedy Tria l Act or the Sixth

 4     Amendment to th e Constitu tion as to th e delay occasioned by the later proc eedi ngs.

 5             14.    The defe nd an t und e rstands and agrees to coop erate fully with the United

 6     States Probation Office in providing:
 7            (A)     All criminal history info rmation, i.e., all criminal convictions as defined

 8     under th e Sentencing Guidelines .

 9            (B)     All financial information, i.e. , present financial assets or liabilities that re late
10     to the abi lity of th e defend ant to pay a fine or restitution.
11            (C)     All hi sto ry of drug a bu se wh ich wou ld wa rrant a treatment con d ition as part
12     of sentenc in g.
13            (D)     All hi story of mental illness or conditions which would warrant a treatment
14     condition as part of sentencing.

15             15.    Nothin g in this plea agreement shall be construed to protect the defendant

16     from civi l forfeit ure proceed in gs o r proh ibi t the Un ited States from proceed in gwith and /or
17     initiating an action for civil forfeiture . Further, this agreement doe s not preclude the United
18     States from instituting any civil proceedings as may be appropriate now or in the futur e.

19                   WANER OF DEFENDANT'S RIGHTS AND FACTUAL BASIS
20                                              Waiver of Rights

21            I have read eac h of the provisions of th e enti re plea agreement with th e assistance

22     of counsel and understa nd its provisions. I ha ve di sc ussed the case and my constitutional
23     and oth er right with my attorney. I und ersta nd that by ente rin g my plea of guilty I wjll be
24     giving up my right to plead not guilty; to trial by jury; to confront, cro ss -examine, and

25     compel the attendance of witnesses; to present evidence in my defense ; to rema in s il ent
26     and refuse to be a witn ess against myself by asserting my pr ivilege against self-
27

28                                                     -4-
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       incrimination; all with the assistance of counsel; to be presumed innocent until proven
 2     guilty beyond a reasonable doubt; and to appeal.
 3            I agree to enter my guilty plea as indicated above on the terms and conditions set
 4     forth in this agreement.
 5            I have been advised by my attorney of the nature of the charge to which I am entering
 6     my guilty plea. I have been advi ed by my attorney of the nature and range of the possible
 7     sentence , and that r will not be able to withdraw my guilty plea if I am dissatisfied with the
 8     sentence the court imposes.
 9            My guilty plea is not the result of force, threats , assurance or promises other than
10     the promises contained in this agreement. I agree to the provisions of this agreement as a
11     voluntary act on my part, rather than at the direction of or because of the recommendation
12     of any other person, and I agree to be bound according to its provisions. I agree that any
13     Sentencing Guidelines range referred to herein or discussed with my attorney is not binding
14     on the Court and is merely an estimate .
15            I agree that this written plea agreement contains all the terms and conditions of my
16     plea and that promises made by anyone (including my attorney) that are not contained
17     within this written plea agreement is without force and effect and are null and void.
18            I am satisfied that my defense attorney has represented me in a competent manner.
19            I am not now on or under the influence of any drug, medication , liquor, or other
20     intoxicant or depressant, which would impair my ability to fully understand the terms and
21     conditions of this plea agreement.
22                                             Factual basis
23            I further agree that the fol lowing facts accurately describe my conduct in connection
24     with the offense to which I am pleading guilty and that if this matter were to proceed to
25     trial the government could prove those facts beyond a reasonable doubt:
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28                                                  -5-
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             On or about January 21 , 2023 , in the Di strict of Arizona , I had knowledge of
 l
             the actual commission of a felony cognizable by a court of the United States ,
 2           to wit: Smuggling Goods from the United States in violation of Title 18 ,
             U nited States Code , Section 554(a) . I concealed my knowledge and did not,
 3           as soon as possible, make known the same to some judge or other person in
 4           civil or military authority under the United States.

 5           Specifically, on January 21 , 2023 , I attempted to smuggle a rifle , a magazine,
             and 2,002 rounds of ammunition from the United States and enter the
 6
             Republic of Mexico through th e Lukeville Port of Entry in Lukeville ,
 7           Arizona. At the time I attempted to leave the United States , I had knowl edge
             of a location that was being utilized to store weapons and ammunition. I knew
 8           the weapons and ammunition were then going to be smuggled from the
 9           United States into Mexico . When I attempted to exit the United States and
             enter the Republic of Mexico , and prior to my arrest, I did not notify any law
10           enforcement officers regarding my knowledge of that location.
1l
             Therefore, on January 21 , 2023 , I had knowledge that the crime of Smuggling
12           Goods from the United States , in v iolation of Title 18 , Unit ed States Code ,
             Section 554(a) , a felony cognizable by a court of the United States , had been
13           committed. Because I did not as soon as possible make known the
14           commission of that offense to some judge or other person in civil or military
             authority under the United States , and I took steps to conceal my knowledge ,
15           in violation of U.S. Code Section 4 , I committed the offense of Misprision of
             a Felony .                                         •
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                                                         Hugo Acosta-Osorio
19                                                       Defendant
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21
                                DEFENSE ATTORNEY'S APPROVAL
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              I have discussed thi s case and the plea agreement with my client in detail and have
23
       advi sed the defendant of all matters within the scope of Rule 11 , Fed. R. Crim. P. , the
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       constitutional and other rights of an accused , the factual basis for and th e nature of th e
25
       offense to which the guilty plea will be entered, possible defenses , and the consequences
26
       of the guilty plea , including the defendant ' s waiver the right to appeal. No assurances,
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28                                                 -6-
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 1     promises , or representations have been given to me or to the defendant by the government
 2     or by any of its representatives which are not contained in this written agreement. I concur

 3     in the entry of the plea as indicated above and on the terms and conditions set forth in this

 4     agreement as in the best interests of my client . I agree to make a bona fide effort to ensure
 5     that the guilty plea is entered in accordance with all the requirements of Rule 11 , Fed. R.

 6     Crim. P.
 7

 8             Date
 9
10                                   GOVERNMENT'S APPROVAL
11             I have reviewed this matter and the plea agreement. I agree on b
12     States that the terms and conditions set forth are approp1iate and are in the best interests of
13     justice .                                          Tl }-A Cl TI,'( CC '--R c.._ 1-\A1 1-Jl:::.
                                                          RACHEL C. I IER1'tANDEZ
14                                                        -:A:ctnrgi:Jnited States Attorney
15

16                                                        D
                                                          ~JWJJ:;
17             Date                                       NATHANIEL J . WALTERS
                                                          Assistant U.S. Attorney
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